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 5
   Counsel for Defendant TOBIAS
 6

 7

 8                          IN THE UNITED STATES DISTRICT COURT

 9                      FOR THE NORTHERN DISTRICT OF CALIFORNIA

10

11 UNITED STATES OF AMERICA,             )              No. CR-05-0611 WHA
                                         )
12                   Plaintiff,          )              STIPULATION AND [PROPOSED]
                                         )              ORDER CONTINUING CHANGE-OF-
13       v.                              )              PLEA HEARING
                                         )
14 CHARLES DEWEY TOBIAS,                 )
                                         )
15                   Defendant.          )
   _____________________________________ )
16

17         On September 5, 2006, the parties in this matter appeared before the Court for a status

18 conference. The parties informed that Court that they were in the process of negotiating a

19 resolution of the case with respect to defendant Charles Tobias, and asked to return for change of

20 plea on September 19, 2006.

21         The parties have since met and conferred several times. While the parties are very close

22 to settlement, there remains a good-faith disagreement concerning the proper application of the

23 Sentencing Guidelines to the facts of this case. Both parties have undertaken their own

24 independent research and have agreed to meet and confer once again early this week.

25         Accordingly, the parties jointly seek one additional week to bring these negotiations to

26 closure. The parties thus agree and stipulate that the hearing presently scheduled for September


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 1 19, 2006 should be continued to September 26, 2006, provided that the Court is available on that

 2 date. The parties further agree and stipulate that time should be excluded under the Speedy Trial

 3 Act in the interests of justice and to enable both sides to prepare effectively by conducting the

 4 necessary research.

 5          IT IS SO STIPULATED.

 6 Dated: 9/18/06                                        /s/___________________________
                                                         BARRY J. PORTMAN
 7                                                       Federal Public Defender
                                                         JOSH COHEN
 8                                                       Assistant Federal Public Defender

 9
     Dated: 9/18/06                                      /s/____________________________
10                                                       KEVIN V. RYAN
                                                         United States Attorney
11                                                       JAMES KELLER
                                                         Assistant United States Attorney
12

13                                               ORDER

14          Accordingly, and for good cause shown, the Court orders that the hearing in this matter

15 presently scheduled for September 19, 2006 shall be vacated, and directs the parties to appear for

16 change of plea on September 26, 2006 at 2:00 PM.

17          The Court further orders that the time from September 19, 2006 through September 26,

18 2006 shall be excluded under the Speedy Trial Act. The Court finds that the ends of justice

19 served by granting the requested continuance outweigh the best interest of the public and the

20 defendant in a speedy trial. This finding is based on the Court’s determination that the failure to

21 grant the continuance would deny counsel for both parties the reasonable time necessary for

22 effective preparation, taking into account the exercise of due diligence. See 18 U.S.C. §

23 3161(h)(8)(A) & (B)(iv).
                                                                                   S DISTRICT
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24          IT IS SO ORDERED.
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                                                                     UNIT




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                                                                              IT IS S
25 Dated:     September 18, 2006                         __________________________________
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                                                         WILLIAM H. ALSUPilliam Alsup
                                                                     NO




                                                                       Judge W
                                                                                                               FO




26                                                       UNITED STATES    DISTRICT JUDGE
                                                                      RT




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     CR 05-0611 WHA; STIP TO CONTINUE                2
